                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                              Case No. 17-42493

SCOTT VOLLHARDT,                                                    Chapter 13

            Debtor.                                                 Judge Thomas J. Tucker
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                                 ORDER DISMISSING CASE

       On February 22, 2018, the Court entered an order entitled “Order Requiring the Personal
Representative of the Estate of the Debtor Scott Vollhardt to Show Cause in Writing Why This
Case Should Not Be Dismissed Due to the Debtor’s Death” (Docket # 49, the “Show-Cause
Order”), which provided, in relevant part:

               IT IS ORDERED that no later than March 8, 2018, the Personal
               Representative of the Estate of Scott Vollhardt must file a written
               response to this Order, showing cause why the Court should not
               dismiss this case under Fed. R. Bankr. P. 1016, on the ground that
               Scott Vollhardt is deceased.

      The Personal Representative of the Estate of Scott Vollhardt did not file a response to the
Show-Cause Order by the March 8, 2018 deadline, and to date, has not filed a response.

       IT IS ORDERED that this bankruptcy case is dismissed under Fed. R. Bankr. P. 1016,
because the Debtor is deceased.


Signed on March 9, 2018




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